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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION
UNITED STATES OF AMERICA

vs.                                         Case No. 2:05-cr-124-FTM-29SPC

ALEXANDER DEVON STEWART


                               OPINION AND ORDER
       This   matter is     before    the   Court      on   a   Joint    Stipulation
Regarding     Retroactive      Application        of    Revised       Cocaine   Base
Sentencing Guidelines (Doc. #116), filed on November 1, 2011.
Deemed included in the Joint Stipulation is defendant’s Motion for
a Reduction of Sentence pursuant to Amendment 750 of the U.S.
Sentencing Guidelines. Defendant seeks a reduction in his sentence
in    light   of   Amendment    750    to   the    United       States    Sentencing
Guidelines, and this is not opposed by the United States.
       Defendant    is    eligible    for   a     reduction      of    his   term   of
imprisonment under Amendment 750, and the Court has reviewed the
original Presentence Report and the supplemental Memorandum from
the U.S. Probation Office.           The Court finds the Joint Stipulation
to be appropriate under all the circumstances.                        Therefore, the
Joint Stipulation and motion will be granted pursuant to 18 U.S.C.
§ 3582(c).
       Accordingly, it is now
       ORDERED AND ADJUDGED:
       1. The Joint Stipulation Regarding Retroactive Application of
Revised Cocaine Base Sentencing Guidelines (Doc. #116) is deemed to
include defendant’s Motion for a Reduction of Sentence pursuant to
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Amendment 750 of the U.S. Sentencing Guidelines.
      2. Defendant’s Motion for a Reduction of Sentence pursuant to
Amendment 750 of the U.S. Sentencing Guidelines is GRANTED as set
forth below.
      3.   The Clerk of the Court shall enter a Second Amended
Judgment reducing the sentence imposed to fifty-seven (57) months
imprisonment or time served, whichever is longer, and otherwise
leaving all other components of the sentence as originally imposed.
This Opinion and Order and the amended Judgment is subject to the
prohibition    contained   within   U.S.S.G.    §   1B1.10(b)(2)(c)    which
provides that “[i]n no event may the reduced term of imprisonment
be less than the term of imprisonment the defendant has already
served.”
      4.   The release of defendant pursuant to this Opinion and
Order and amended Judgment shall be stayed for ten calendar days
measured from the date of the filing of the amended Judgment, or
until such time as the Bureau of Prisons has completed the release
preparations, whichever is sooner.
      DONE AND ORDERED at Fort Myers, Florida, this           1st     day of
November, 2011.




Copies:
Counsel of Record
U.S. Probation
U.S. Marshal
DCCD


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